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                                                                     January 11, 2022
   By ECF

   Hon. Nicholas G. Garaufis
   United States District Court
   225 Cadman Plaza East
   Brooklyn, New York 11201

                             Re: United States v Nancy Salzman
                                 18 Cr. 204 (NGG)

   Dear Judge Garaufis:

           Together with David Stern, I represent Nancy Salzman in the above-captioned matter. Ms.
   Salzman is scheduled to surrender at FPC Alderson (West Virginia) on January 19 of this year.
   Without objection of the government, per AUSA Tanya Hajjar, I write to request a bail modification
   permitting Ms. Salzman to leave New York early on the 18th of January for surrender, and remain
   in a hotel that evening so that she will be able to enter the facility in the morning of the 19th rather
   than late in the day after a ten - eleven hour drive.

           In all other respects, it is requested that Ms. Salzman’s conditions of release remain as they
   currently are. Thank you very much for your attention to this matter.

                                                                     Respectfully,

                                                                     Robert A. Soloway

                                                                     Robert A. Soloway
   cc: AUSA Tanya Hajjar
         (By ECF)
   RAS:sc
